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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA,           )
                                       )
11              Plaintiff,             )                 CASE NO.      MJ07-478
           v.                          )
12                                     )
                                       )                 DETENTION ORDER
13 JOSE ANGEL JACINTO-RAMIREZ,         )
                                       )
14              Defendant.             )
   ___________________________________ )
15
     Offense charged:
16
              Count I:      Conspiracy to Distribute Cocaine, in violation of Title 21, U.S.C.,
17
                            Section 841(a)(1), 841(b)(1)(B) and 846.
18
     Date of Detention Hearing: October 11, 2007
19
              The Court, having conducted an uncontested detention hearing pursuant to Title
20
     18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
21
     detention hereafter set forth, finds that no condition or combination of conditions which the
22
     defendant can meet will reasonably assure the appearance of the defendant as required and
23
     the safety of any other person and the community. The Government was represented by
24
     Doug Whalley for Lisca Borichewski. The defendant was represented by Brian Tsuchida.
25
26


     DETENTION ORDER
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 1        FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2            (1)    There is probable cause to believe the defendant committed the drug
 3                   offenses of conspiracy to distribute cocaine. The maximum penalty is in
 4                   excess of ten years. There is therefore a rebuttable presumption against
 5                   the defendant’s release based upon both dangerousness and flight risk,
 6                   under Title 18 U.S.C. § 3142(e).
 7            (2)    The defendant is viewed as a risk of nonappearance as he is not a United
 8                   States citizen and he has been twice deported to Mexico.
 9            (3)    The defendant does not contest detention at this time.
10 Based upon the foregoing information which is also consistent with the recommendation
11 of detention by U.S. Pre-trial Services, it appears that there is no condition or
12 combination of conditions that would reasonably assure future Court appearances and/or
13 the safety of other persons or the community.
14            It is therefore ORDERED:
15            (l)    The defendant shall be detained pending trial and committed to the
16                   custody of the Attorney General for confinement in a correction facility
17                   separate, to the extent practicable, from persons awaiting or serving
18                   sentences or being held in custody pending appeal;
19            (2)    The defendant shall be afforded reasonable opportunity for private
20                   consultation with counsel;
21            (3)    On order of a court of the United States or on request of an attorney for
22                   the Government, the person in charge of the corrections facility in which
23                   the defendant is confined shall deliver the defendant to a United States
24                   Marshal for the purpose of an appearance in connection with a court
25                   proceeding; and
26            (4)    The clerk shall direct copies of this order to counsel for the United

     DETENTION ORDER
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 1               States, to counsel for the defendant, to the United States Marshal, and to
 2               the United States Pretrial Services Officer.
 3         DATED this 12th day of October, 2007.



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 6                                                  MONICA J. BENTON
 7                                                  United States Magistrate Judge

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     DETENTION ORDER
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